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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION
 OPIATE LITIGATION
                                                    MDL No. 2804
 THIS DOCUMENT RELATES TO:
                                                    Case No. 17-md-2804
 Masiowski v. AmerisourceBergen Drug
 Corporation, et al., 1:18-op-45985-DAP             Judge Dan Aaron Polster


     THE PHARMACY DEFENDANTS’ UNOPPOSED MOTION REGARDING
    DEADLINES TO BRIEF PLAINTIFF MICHAEL MASIOWSKI’S MOTION TO
   AMEND COMPLAINT AND CORRECTED MOTION TO AMEND COMPLAINT

       Defendants CVS Pharmacy, Inc., Walgreen Co., Walgreen Eastern Co., Inc., and Walmart

Inc. (the “Pharmacy Defendants”) hereby request that the Court decide the Pharmacy Defendants’

pending Motion to Dismiss Plaintiff Michael Masiowski’s Complaint for Failure to Submit a

Plaintiff Fact Sheet (“Motion to Dismiss”) before Pharmacy Defendants respond to Plaintiff

Michael Masiowski’s Motion for Leave to Amend and Corrected Motion for Leave to Amend.

The Pharmacy Defendants conferred with Plaintiff’s counsel who indicated that he did not oppose

this Motion.

       The Pharmacy Defendants were not named in Plaintiff’s original Complaint. Plaintiff filed

a Motion for Leave to Amend on July 29, 2024, and a Corrected Motion for Leave to Amend on

August 8, 2024, which purported to add the Pharmacy Defendants, as well as other defendants.

Doc. 33 (1:18-op-45985); Doc. 5582. The deadline for defendants to respond to Plaintiff’s Motion

for Leave to Amend and Corrected Motion for Leave to Amend is currently September 30, 2024.

Doc. 5522.
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         On September 18, 2024, the Pharmacy Defendants filed their pending Motion to Dismiss.1

Doc. 5636. The current deadline for Plaintiff to respond to the Pharmacy Defendants’ Motion to

Dismiss is October 18, 2024.

         The Pharmacy Defendants request, for purposes of economy and judicial efficiency, that

the Court first decide the Pharmacy Defendants’ Motions to Dismiss and extend the deadline for

defendants to respond, if necessary, to Plaintiff’s Motion for Leave to Amend and Corrected

Motion for Leave to Amend to ten (10) business days after the Court issues a decision on the

Motion to Dismiss.

    Dated: September 27, 2024                   Respectfully submitted,

                                                 /s/ Tara A. Fumerton
                                                 Tina M. Tabacchi
                                                 Tara A. Fumerton
                                                 JONES DAY
                                                 110 North Wacker, Suite 4800
                                                 Chicago, IL 60606
                                                 Phone: (312) 782-3939
                                                 tmtabacchi@jonesday.com
                                                 tfumerton@jonesday.com

                                                 Counsel for Walmart Inc.

                                                 /s/ Eric R. Delinsky
                                                 Eric R. Delinsky
                                                 Alexandra W. Miller
                                                 Paul B. Hynes, Jr.
                                                 ZUCKERMAN SPAEDER LLP
                                                 1800 M. Street NW, Suite 1000
                                                 Washington, DC 20036
                                                 Phone: (202) 778-1800
                                                 edelinsky@zuckerman.com
                                                 smiller@zuckerman.com
                                                 phynes@zuckerman.com

                                                 Counsel for CVS Pharmacy, Inc.

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  Cardinal Health, Inc., AmerisourceBergen Drug Corporation, McKesson Corporation, Actavis LLC, Actavis
Pharma, Inc., Cephalon, Inc., Teva Pharmaceuticals USA, Inc., and Watson Laboratories, Inc. also filed motions to
join the pending Motion to Dismiss. Docs. 5639, 5644.


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                                /s/ Kaspar J. Stoffelmayr
                                Kaspar J. Stoffelmayr
                                Jean K. Tinkham
                                Michael A. Nance
                                BARTLIT BECK LLP
                                54 West Hubbard Street
                                Chicago, IL 60654
                                Phone: (312) 494-4400
                                kaspar.stoffelmayr@bartlitbeck.com
                                jean.tinkham@bartlitbeck.com
                                michael.nance@bartlitbeck.com

                                Counsel for Walgreen Co. and Walgreen Eastern
                                Co., Inc.




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 27th day of September, 2024, I electronically filed a copy of the
foregoing with the Clerk of the Court using the CM/ECF system, which caused all parties or
counsel of record to be served


 Dated: September 27, 2024                  Respectfully submitted,

                                            /s/ Tara A. Fumerton
                                            Tina M. Tabacchi
                                            Tara A. Fumerton
                                            JONES DAY
                                            110 North Wacker, Suite 4800
                                            Chicago, IL 60606
                                            Phone: (312) 782-3939
                                            tmtabacchi@jonesday.com
                                            tfumerton@jonesday.com

                                            Counsel for Walmart Inc.




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